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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                        )
ROCHELLE GARZA, as guardian ad litem to )
unaccompanied minor J.D., on behalf of  )
herself and others similarly situated,  )
                                        )
               Plaintiff,               )
                                        )
        v.                              )            Civil Action No. 17-cv-02122 (TSC)
                                        )
ERIC D. HARGAN, et al.,                 )
                                        )
               Defendants.              )
                                        )


                                             ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, the court hereby

GRANTS Plaintiffs’ Motion for Class Certification (ECF No. 18) and Plaintiffs’ Motion for a

Preliminary Injunction (ECF No. 5) as to the class. The relevant class is defined as all pregnant,

unaccompanied immigrant minor children (UCs) who are or will be in the legal custody of the

federal government.

       It is hereby ORDERED that Defendants Eric Hargan, Steven Wagner, and Scott Lloyd

(along with their respective successors in office, officers, agents, servants, employees, attorneys,

and anyone acting in concert with them) are:


       (1) Enjoined from interfering with or obstructing any class member’s access to: (1) a

           judicial bypass, (2) medical appointments related to pregnancy dating, (3) non-directive

           options counseling, (4) abortion counseling, (5) an abortion, or (6) other pregnancy-

           related care;



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      (2) Enjoined from forcing any class member to reveal the fact of their pregnancies and

         their abortion decisions to anyone, and from revealing those decisions to anyone

         themselves, either before or after an abortion;

      (3) Enjoined from retaliating against any class member based on her decision to have an

         abortion;

      (4) Enjoined from retaliating or threatening to retaliate against contractors that operate the

         shelters where class members currently reside for any actions that those contractors or

         shelters have taken or may take in facilitating class members’ ability to access

         pregnancy and abortion-related medical care and/or an abortion.


Date: March 30, 2018


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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